                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI


UNITED STATES OF AMERICA

                              Plaintiff,

-vs-                                                     Case No.    23-mj-00035-01-JAM(LMC)

CHLOE M. DASILVA,

                        Defendant.
_____________________________________


                 ORDER APPOINTING FEDERAL PUBLIC DEFENDER


       The above-named defendant, having appeared before the Court this date and not having
waived counsel, it is
       ORDERED that Laine Cardarella, Federal Public Defender, and Steve Moss, William M.
Ermine, Travis Poindexter, Robert Kuchar, Ronna Holloman-Hughes, William Raymond, Carie
Allen, Todd M. Schultz, Angela Williams, Lesley Smith and Chelsea Wilson, Assistant Federal
Public Defenders, Federal Public Defender's Office - KCMO Walnut Street, 1000 Walnut, Ste.
600 Kansas City, MO 64106, telephone number (816) 471-8282; David R. Mercer, Ann Koszuth,
Michelle Nahon, Ian A. Lewis and Michelle Law, Assistant Federal Public Defenders, 901 St.
Louis Street, Suite 801, Springfield, Missouri 65806, telephone number (417) 873-9022 and
Troy Stabenow, Assistant Federal Public Defender, 221 Bolivar Street, Suite 104, Jefferson City,
MO 65101, telephone number (573) 636-8747, be, and they are hereby, appointed to represent
the defendant before the Court and in all proceedings thereafter unless and until relieved by order
of the United States District Court for the Western District of Missouri.




                                              /s/ Lajuana M. Counts
                                              LAJUANA M. COUNTS
                                              UNITED STATES MAGISTRATE JUDGE

Kansas City, Missouri
April 10, 2023




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